 

B1 (Official Form 1) (04/13)
: UNITED STATES BANKRUPTCY COURT

Northern District of California

 

 

Name of Debtor (if individual, enter Last, First, Middle);
Hughes-Hartogs, Dirk,

Name of Joint Debtor (Spouse) (Las

 
 

 

All Other Names used by the Debtor in the last 8 years
(in¢lude married, maiden, and trade names):

Dirk Hartogs

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

Last four digits of Soc. Sec. or Individual-Taxpayer LD. (ITIN)/Complete EIN
(if more than one, state all):

9342

Last four digits of Soc. Sec. or Individual-Taxpayer LD. (ITIN)/Complete EIN
(if more than one, state all):

 

Street Address of Debtor (No. and Street, City, and State):

2200 Rolling Hills Drive
Morgan Hill CA 95037

[ir CODE 95037 |

Street Address of Joint Debtor (No. and Street, City, and State):

Zip CODE ]

 

County of Residence or of the Principal Place of Business:
Santa Clara

County of Residence or of the Principal Place of Business:

 

Mailing Address of Debtor (if different from street address):
PO Box 40
Morgan Hill CA

i [zip CODE 95038 ]

 

Mailing Address of Joint Debtor (if different from street address):

zip CODE ]

 

Loeation of Principal Assets of Business Debtor (if different from street address above):

[zip CODE |

 

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed (Check one box.)
(Check one box.)
(1 Health Care Business [] Chapter 7 [1 Chapter 15 Petition for
[Mi Individual (includes Joint Debtors) (1) Single Asset Real Estate as defined in | O Chapter 9 Recognition of a Foreign
See Exhibit D on page 2 of this form. 11 U.S.C. § 101(51B) CJ] = Chapter 11 Main Proceeding
(1! Corporation (includes LLC and LLP) 1 sRailroad CJ] Chapter 12 (1 Chapter 15 Petition for
C]| Partnership C1 = Stockbroker LA Chapter 13 Recognition of a Foreign
(J; Other (If debtor is not one of the above entities, check [1 Commodity Broker Nonmain Proceeding
‘this box and state type of entity below.) OO Clearing Bank
CO) Other

 

Chapter 15 Debtors
Coiuntry of debtor’s center of main interests:

O

Each country in which a foreign proceeding by, Tegarding, or
against debtor is pending:

 

Tax-Exempt Entity
(Check box, if applicable.)

Debtor is a tax-exempt organization
under title 26 of the United States
Code (the Internal Revenue Code).

Nature of Debts
(Check one box.)
(Z] Debts are primarily consumer [[] Debts are
debts, defined in 11 U.S.C. primarily
§ 101(8) as “incurred by an business debts.
individual primarily for a
personal, family, or
household purpose.”

 

 

Filing Fee (Check one box.)
GA: Full Filing Fee attached.
Oi Filing Fee to be paid in installments (applicable to individuals only). Must attach
signed application for the court’s consideration certifying that the debtor is

unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.

oO Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
attach signed application for the court’s consideration. See Official Form 3B.

 

Chapter 11 Debtors
Check one box:
(1 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
[1 Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).

Check if:

C]  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
on 4/01/16 and every three years thereafter).

Check all applicable boxes:

A plan is being filed with this petition.

(1) Acceptances of the plan were solicited prepetition from one or more classes

of creditors, in accordance with 11 U.S.C. § 1126(b),

 

Statistical/Administrative Information

 

 

 

 

 

THIS SPACE IS FOR
: COURT USE ONLY
lA. Debtor estimates that funds will be available for distribution to unsecured creditors.
mE Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors.
Estimated Number of Creditors
O °O O O oO O O a O
1-49 50-99 100-199 200-999 1,000- 5,001- 10,001- 25,001- 50,001- Over
5,000 10,000 25,000 50,000 100,000 100,000
Estimated Assets
Oo O O Oo O
$0to _ $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 — $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
million million million million million
Estimated Liabilities
OO Oo LA O O
$0t $50,001 to $100,001 to $500,001 $1,000,001 $10,000,001 $50,000,001 $100,000,001 — $500,000,001 More than
$50,000 $100,000 $500,000 to $1 to $10 to $50 to $100 to $500 to $1 billion $1 billion
: million million million million million

 

 

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Page 2

 

Valuntary Petition
(This page must be completed and filed in every case.)

rl Bre Hagh hee-Hartogs

 

 

XX

 

 

 

 

 

 

All Prigy Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location A | C 1s Num Date Rd:
Where Filed: Ss MV {fo a'S6 606 Sl \3 g {0 [as oN
Location Case Number: Date Filed:}
Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.) *

Name of Debtor: Case Number: Date Filed:
District: Relationship: Judge:

Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)

 

C1 Exhibit A is attached and made a part of this petition.

(To be completed if debtor is an individual
whose debts are primarily consumer debts.)

I, the attorney for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
of title 11, United States Code, and have explained the relief available under each
such chapter. I further certify that I have delivered to the debtor the notice required
by 11 U.S.C. § 342(b).

xX

 

 

Signature of Attorney for Debtor(s) (Date)

 

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

a

Yes, and Exhibit C is attached and made a part of this petition.

 

|
wi; No.
|
|
{

- Exhibit D
(T8 be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

rf Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

If this is a joint petition:

ol Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

 

Debtor has been domiciled or has had a residence, principal place

Information Regarding the Debtor - Venue
(Check any applicable box.)

of business, or principal assets in this District for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other District.

O There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

0 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
District, or the interests of the parties will be served in regard to the relief sought in this District.

 

! Certification by a Debtor Who Resides as a Tenant of Residential Property
| (Check all applicable boxes.)
\
I

oO Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)
Oo Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
: oO Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
: of the petition.
O Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(L)).

 

 

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Page 3

 

Voluntary Petition
(This page must be completed and filed in every case.)

Name of Debtor(s):
Dirk Hughes-Hartogs

 

Signatures

 

Signature(s) of Debtor(s) (Individual/Joint)
I declare under penalty of perjury that the information provided in this petition is true
and correct,

{If! petitioner is an indjvidual whose debts gre primarily consumer debts and has
chosen to file wae 7] 1am awarefhat I may proceed under chapter 7, 11, 12
or 43 of title L}-United States Code, upderstand the relief available under each such
chapter, and choose to proceed under#hapter 7,

[Ifino attomey represents me and no bankruptcy petition preparer signs the petition} I
have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter
: ,
xX! Z 7 ~

Signathfe of Debtor

 
 

a1

 

of tiJe 11, United States Code,

    

A e

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Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true
and correct, that I am the foreign representative of a debtor in a foreign proceeding,
and that I am authorized to file this petition.

(Check only one box.)

C1 Irequest relief in accordance with chapter 15 of title 11, United States Code.
Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

C1 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
chapter of title 11 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is attached.

 

(Signature of Foreign Representative)

 

 

 

 

Signature of Attorney for Debtor(s)

 

Printed Name of Attorney for Debtor(s)

 

| Firm Name

 

: Address

 

Telephone Number

 

. Date

*Ina case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.

|

 

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true
and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

4 :
, Signature of Authorized Individual

 

 

| Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

 

x —_
| Si Joint (Printed Name of Foreign Representative)
SE OIG §
Telepbgng Neva it e represented by attorney)
: / l / i) Date
| Date
t Signature of Attorney* Signature of Non-Attorney Bankruptcy Petition Preparer
x I declare under penalty of perjury that: (1)! am a bankruptcy petition preparer as

defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information
required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3)if rules or
guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
fee for services chargeable by bankruptcy petition preparers, I have given the debtor
notice of-the maximum amount before preparing any document for filing for a debtor
or accepting any fee from the debtor, as required in that section. Official Form 19 is
attached,

 

Printed Name and title, if any, of Bankruptcy Petition Preparer

 

Social-Security number (If the bankruptcy petition preparer is not an individual,
state the Social-Security number of the officer, principal, responsible person or
partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

 

Address

 

Signature

 

Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or
partner whose Social-Security number is provided above.

Names and Social-Security numbers of all other individuals who prepared or assisted
in preparing this document unless the bankruptcy petition preparer is not an
individual.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

 

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B 1D (Official Form 1, Exhibit D) (12/09)

UNITED STATES BANKRUPTCY COURT

Northern District of California

In re Dirk Hughes-Hartogs Case No.
Debtor (if known)

EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be

required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse

must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

#1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the

services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

C2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the

services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.

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B 1D (Official Form 1, Exh. D) (12/09) — Cont, Page 2

C13. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here. |

If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited toa maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

2 4. Iam not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

(Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
illness or mental deficiency so as to be incapable of realizing and making rational
decisions with respect to financial responsibilities.);

C) Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
extent of being unable, after reasonable effort, to participate in a credit counseling
briefing in person, by telephone, or through the Internet.);

C1) Active military duty in a military combat zone.

C5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.
I certify under penalty of perjury that the information provided above is true and

correct.
Signature of peor LBA Byyl. Lely

Date: 04/19/2015

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

In re: \ RK | UGHRS- LA QTOG Case No.:

Debtor(s) /

 

CREDITOR MATRIX COVER SHEET

I declare that the attached Creditor Mailing Matrix, consisting of sheets, contains the
correct, complete and current names and addresses of all priority, secured and unsecured creditors
listed in debtor’s filing and that this matrix conforms with the Clerk’s promulgated requirements.

DATED: “fPa/ das. |

Signature of Debtor’s Kttorney or Pro Pér Debtor

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Pacific Gas and Electric
PO Box 997300

Sacramento CA 95899-7300
(8343341093-9)

Recology
50 California St, 24" Floor

San Francisco CA 9411

Recology

1351 Pacheco Pass

Gilroy CA 95020

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State Board of Equalization Attn: Special, Procedures Section,. MIC:55 P.O. Box ©
942879 Sacramento, CA 94279

CA Employment Development Dept. Bankruptcy Group MIC 92E P.O. Box 826880
CA 94280-0001

Ow

Sacramento,

we
CA Franchise Tax Board Attn: Special Procedures P.O. Box 2952 Sacramento, CA 95812-2952

IRS P.O. Box 7346 Philadelphia, PA 19101-7346
Cavalry Portfolio Services 500 Summit Lake‘Drive, Ste 400 Valhalla, NY 10595

Franchise Tax Board Section MS A340 PO Box 2952 ', Sacramento CA 95812-2952

HSBC PO BOX 5213 Carol Stream IL 60197 '
Internal Revenue Service PO BOx 7346 _._ philadelphia PA 191 14-0326

Ocwen Loan servicing 1661 worthington Road, Suite 100 West Palm Beach FL 33409 —

county of Santa Clara Tax Collectors Office 70 West Hedding Street san Jose CA

95110-1767

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‘TOTAL: 11

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